Case 2:04-cr-20060`-`.]PI\/| Document 72 Filed 06/21/05 Page 1 of 3 Page|D 106

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IN THE UNITED STATES DISTRICT COURT -9»0.

FOR THE wESTERN DISTRICT oF TENNESSEE 05 JUN 2 l
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UNITED sTArEs oF AMERICA, N 1le OFW U 3 BSIPE!T.S

Plaintiff,

VS.

THERoN HICKS, U.HU - - wig

Defendant.

 
   

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U.S. DISTRICT Jlli§l‘r§l

 

MOTION TO RESE'I"SENTENCING DATE

 

COMES NOW the Defendant, Theron Hicks, by and through appointed Counsel, Stephen
A. Sauer, and files this Motion to Reset Sentencing Date.

The U.S. Probation Of`ficer filed a Presentence Investigation Report which was inadvertently
sent to defense counsel’s old law office address This resulted in a significant delay in defense
counsel receiving a copy of the report and therefore, a delay in filing the Defendant’s Objection’s
to that report. Since the filing of the Objections by defense counsel, the U.S. Probation Of`ficer has
filed a Corrected Face Sheet and Addendum to the Presentence Report which was received by
defense counsel two days prior to the current Senteneing date of June 22, 2005. Defense Counsel
has not had enough time since receiving the Addendum to meet with his client to discuss the impact
it Will have at Sentencing. The Defendant therefore requests a continuance of the sentencing date
to allow time to clarify the impact the Probation Officer’s report will have on the Def`endant’s

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Counsel has spoken to Assistant United States Attorney David Pritchard who joins '-

  

Thls document entered on the docket sheet ln cempllance
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request of defense counsel for additional time to review the facts of the Defendant’s arrest
subsequent to the instant offense to determine how that will impact the Guidelines at sentencing
Wherefore, Def`endant requests that the current sentencing date of June 22, 2005, be reset to

allow for further time to investigate the impact the Probation Officer’s report will have on the

Defendant’s sentence

Respectfully submitted:

` f
STEPHEN A. SAUER (015254)
Attorney for Defendant
8 South Third, Fourth Floor
Memphis, TN 38103

(901) 529-8500
cERTIFICATE or sERvIcE

I, the undersigned, do hereby certify that a true and exact copy of the foregoing document has
been served upon Mr. David Pritchard, Assistant United States Attorney, at 167 North Main, Suite
800, Memphis, Tennessee 38103 and to Ms. Margaret Gibson, U.S. Probation Officer, 167 North

Main, Suite 234, Memphis, TN 38103, via hand-delivery or by placing the same in the United States

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STEPHEN A. SAUER

mail, postage prepaid, on this the 215‘ day of June, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:04-CR-20060 was distributed by faX, mail, or direct printing on
.lune 22, 2005 to the parties listed.

NNESSEE

 

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

